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              EXHIBIT 3
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                         NY-09477

  Telephone_conference_20160811
  Telephone conference 20160811
                      8/11/2016 10:04 AM
                                      AM



                       Full-size Transcript

                          Prepared by:


                            NY-09477

                   Tuesday, September 06, 2016
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                                                                          1

 1   THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

2

 3   In the Matter of:         )

 4                             ) File No. NY-09477-A

5    IN CROWD EQUITY, INC.     )

 6

 7   WITNESS:   James Bernard Moore

 8   PAGES:     1 through 86

 9   PLACE:     Securities and Exchange Commission

10              200 Vesey Street, Suite 400

11              New York, New York 10285

12   DATE:      Thursday, August 11, 2016

13

14        The above entitled matter came on for hearing,

15   pursuant to notice, at 10:04 a.m via teleconference.

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24              Diversified Reporting Services, Inc.

25                        (202) 467-9200



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                                                                          2

 1   APPEARANCES:

2

 3   On behalf of the Securities and Exchange Commission:

 4       MAUREEN KING, ESQ.

5         PREETHI KRISHNAMURTHY, ESQ.

 6        Securities and Exchange Commission

 7        Division of Enforcement

 8       200 Vesey Street, Suite 400

 9        New York, New York 10285

10

11   On behalf of the Witness:

12        ROBERT HEIM, ESQ.

13       Meyers & Heim, LLP

14        1350 Broadway, Suite 514

15        New York, New York 10018

16

17   Also Present:

18        Darcy Flynn

19

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 1                         C O N T E N T S
                           CONTENTS

2

 3   WITNESS:                                        EXAMINATION

 4   James Bernard Moore

5

 6   EXHIBITS:      DESCRIPTION                   IDENTIFICATION

 7   (No exhibits identified.)

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                                                                          4

 1                       P R O C E E D I N G S
                         PROCEEDINGS

2               MS. KING:    Hello?

 3              MR. HEIM:    Hi.    Maureen?

 4              MS. KING:    Hi, Robert.    This is -- you have

5    Maureen and Preethi.

 6              MR. HEIM:    Great.    Hi, how are you?

 7              MS. KRISHNAMURTHY:      Good.   How are you?

 8              MR. HEIM:    Good, thanks.      I have Darcy Flynn,

 9   who is an attorney that's working with me, is on the line

10   as well.   And we're actually just waiting for James to

11   call in.   I'm just e-mailing him now to see if he's

12   having any trouble dialing in.

13              MS. KING:    Okay.    And as I know you already

14   agreed, just to remind you, we are having this interview

15   transcribed.

16              MR. HEIM:    Yes.

17              Hello?

18              MS. KING:    We're still here.

19              MR. HEIM:    Okay.    I thought it might be someone

20   else joining.    I spoke to James a little while ago, so I

21   know he's going to be dialing in.         He may just be delayed

22   a few minutes.

23              MS. KING:    Okay, no worries.

24              MR. MOORE:    Robert?

25              MR. HEIM:    Hi, James.    How are you?



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                                                                          5

 1              MR. MOORE:   Fine.    That was quite bizarre.    I

2    was online and you couldn't hear me.

 3              MR. HEIM:    Oh, yeah.   I'm glad you got online

 4   now.   We have the SEC online, as well as Darcy Flynn.

5               MS. KING:    Good morning, Mr. Moore.   This is

 6   Maureen King from the SEC.      How are you?

 7              MR. HEIM:    Good morning, Maureen.   I'm good,

 8   thank you.

 9              MS. KING:    So I'm a staff attorney for the

10   United States Securities and Exchange Commission, and

11   with me is our trial counsel, Preethi Krishnamurthy.

12   Thank you very much for making the time to speak with us

13   today.

14              Before we begin, I just want to underscore that

15   this is an entirely voluntary interview that you may end

16   at any time.   And as I've already discussed with your

17   counsel, we're going to be transcribing the interview

18   today, so there will be someone -- sorry?

19              MR. MOORE:   That's fine.    Thank you for the

20   explanation.

21              MS. KING:    Okay.   I understand you're

22   represented by Mr. Heim today and his co-counsel?

23              MR. MOORE:   Correct, this morning.

24              MR. HEIM:    Yes.

25              MS. KING:    Okay.



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 1                           EXAMINATION

2                BY MS. KING:

 3        Q      So could you just spell your full name for me?

 4        A      Yes.    It's James, J-A-M-E-S; my middle name is

5    Bernard, B-E-R-N-A-R-D; and my last name is Moore,

 6   M-O-O-R-E.

 7        Q      Can you state your date and place of birth,

 8   please?

 9        A      Yes.    It's the 2nd of December, 1960.   And I

10   was born in Sheffield, in England.

11        Q      Can you describe for me any education you've

12   had, starting at the university level?

13        A      Yes.    I'm working backwards?

14        Q      So forward from university on, if there's

15   anything after university.

16        A      Yeah, sure.    My main qualification was in

17   engineering.    I was educated as an engineering production

18   designer.    I qualified with an HTD second year at

19   Sheffield Polytechnic, which these days we consider a

20   university, but I guess back then was a little below.

21        Q      Okay.   What -- did you obtain a degree?

22        A      Well, we called it back then a "higher

23   technical diploma."

24        Q      Got it.

25        A      It was a vocational type of degree.



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                                                                          7

 1        Q     Okay.   What year was that?

2         A     A very long time ago.

 3        Q     Approximately is fine.

 4        A     1983, something like that.

5         Q     Okay.   Do you have any education beyond that?

 6        A     No.

 7        Q     Okay.   Can you really briefly summarize your

 8   career for me?     If you can, just let me know where you

 9   worked and your title and the approximate years.    I'll

10   just stop you if I need any further detail.

11        A     I'm -- between probably '03 and '07 I was in my

12   own manufacturing business in Sheffield, manufacturing

13   fitness equipment and solarium equipment.    Between '07 --

14   sorry, 1987, rather; so that was 1983 and 1987.     I

15   apologize.

16        Q     Got it, okay.

17        A     Between 1987 and 1993 I was an international

18   director of sales for a direct sales business called

19   Larome, L-A-R-O-M-E, and primarily based between Britain,

20   Australia, United States occasionally, and Seoul.       And

21   then between 1993 and probably 1997 I was consulting for

22   the sales industry.    And then I got involved in real

23   estate, worked for a private merchant bank called

24   Argonaut; and that was in Regent Street in London.

25        Q     Sorry, that was -- sorry, go ahead.



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 1        A     Between 1998 and late 2000 or early 2001.

2         Q
          Q     Okay.   Let me just stop you for a moment.   What

 3   was the name of the bank again?    Argonaut?

 4        A     Yeah.   It was a private merchant bank, so

5    almost a private venture capital company, called Argonaut

 6   Associates. "Argonaut" as in "Jason and the Argonauts,"

 7   A-R-G-O-N-A-U-T.

 8        Q     Okay, got it.   Thank you.

 9        A     And that was in London, in Regent Street.    And

10   then from there I started another real estate business

11   called Inside Track; and that was an educational-based

12   real estate sales company.

13        Q     And what years was that?

14        A     That was 2001 until 2008.

15        Q     Okay.   And then in 2008?

16        A     Between 2008 and 2010 I was semi-retired.    And

17   then around about 2010 I moved to the United States,

18   worked with my wife on various, various different

19   initiatives, one being working to give away some houses

20   that her family wished to give away; and then basically

21   getting involved with her business, Universal Voice Tech.

22        Q
          Q     Okay, and so that's from 2010 forward?

23        A     Probably a little later than 2010.

24   Chronologically, I guess, probably two or three years ago

25   we started looking at things we could do together.      And



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 1   of course, with my background in real estate, you know, I

2    was keen to bring the real estate element to it.     That's

 3   how the whole conversation started.     Her father was keen

 4   to give away some houses in Latin America.

5         Q
          Q     Okay.   Who is your wife?   What is her name?

 6        A     Anna Karina Pena.

 7        Q
          Q     How long have you been married?

 8        A     Four years, as of last April.

 9        Q
          Q     Okay.   Can you describe for me the types of

10   business you've done together?

11        A     Well, the primary business of Universal Voice

12   Tech has always been language division subtitling, you

13   know, for movies and T.V. series and so on, in different

14   languages; and that's her expertise.     And the original

15   thinking was that we would broaden the scope of that

16   business and get involved into real estate consulting and

17   maybe real estate development.    We didn't really know

18   initially, to be honest with you.

19              And so that's how we came together.    I mean, I

20   was stuck with not really working in the United States

21   and wanting to do something, and so we looked at media.

22   I've got no experience in media.    My wife has been

23   involved in it for 20 years or so.     You know, and hence

24   my perspective on that was how can we get involved in

25   something to do with real estate, which really is my



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 1   background for a very long time.

2         Q      Okay.   I'm going to ask you more questions

 3   about Universal Voice Tech, but I just have a couple more

 4   introductory questions to ask first.

5         A      Please.

 6        Q      Okay.   Is there anything that you would

 7   interfere with your ability to understand or answer my

 8   questions today?

 9        A      Not that I can think of, Maureen, no.

10        Q      Okay.   Do you hold any licenses?

11        A      (No response.)

12        Q
          Q      So securities licenses or other professional

13   licenses?

14        A      No.

15        Q      Okay.   Can you state your address?

16        A      My current address is Plat 2, Condado de Sierra

17   Blanca, C-O-N-D-A-D-O, D-E, and then Sierra, S-I-E-R-R-A,

18   Blanca, B-L-A-N-C-A.     And that's in Marbella,

19   M-A-R-B-E-L-L-A, Spain.

20        Q      Do you have any other residences?

21        A      Well, my wife's residence, which we live in

22   when we're in the United States, is 1904 9 Island Avenue,

23   Miami Beach, 33139.

24        Q      Okay.

25               MS. FLYNN:   Okay.



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 1        Q
          Q     Do you have any e-mail addresses?

2         A     I have a bunch of e-mail addresses, yeah.

 3   TheJamesMoore, T-H-E-JamesMoore -- me.com.     Do you want

 4   me to list my e-mail addresses?

5         Q     Please.

 6        A     Okay.   Give me a moment.

 7   James.Moore@ourspace.work.     DubaiProject2014@gmail.com.

 8   VistadeParamount@gmail.com.

 9              THE REPORTER:   What "Paramount?" I'm sorry.

10        Q     Was that "Vista de Paramount"?

11        A     Yeah, VistadeParamount@gmail.com.

12        Q     Could you spell that one?

13        A     Sure.   V-I-S-T-A-D-E-P-A-R-A-M-O-U-N-T

14   gmail.com. VistadeParamount.

15              Jim JimMoore.ch.    Do you want the active ones,

16   or old ones as well?

17        Q     All of them, please, for the last five years.

18        A     Okay, one second.   Printme -- P-R-I-N-T-M-E --

19   67@gmail.com.   Distress -- D-I-S-T-R-E-S-S --

20   buyers2013@gmail.com.    JMTrustee2014@gmail.com.     The one

21   that I've been using, AnnaKP2014@gmail.com.     That's it, I

22   think.

23        Q     Okay, thank you.    Do any of the e-mail

24   addresses have to do with businesses you're working on?

25        A     James.Moore@ourspace.work is the business I'm



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 1   currently working on.   AnnaKP2014 is the one I started

2    using when I started working more with my wife.     We -- I

 3   was using that when we were dealing with Bar Works.

 4              Most of the other ones are pretty much done on

5    that.    James -- TheJamesMoore me.com tends to be purely

 6   private.   I think some of those others are reasonably

 7   self-explanatory.    When we were looking for distressed

 8   properties, you know, we labeled ourselves

 9   "DistressBuyers;" Vista de Paramount is a real estate
     "DistressBuyers;"

10   development that we were working on in southern Spain up

11   until last year, for probably about a year and a half;

12   and so son.   And Jim JimMoore.ch is my old e-mail address

13   that I don't really use now, but when I was a Swiss

14   resident up until about 2010.

15        Q
          Q     And Dubai Project?

16        A     Yeah, we were looking at -- I was involved with

17   a group, probably, you know, two or three years ago,

18   looking to -- again looking to get involved in the

19   affordable housing business.    This was inspired by my

20   father-in-law, and we were looking to set something up in

21   Dubai, with a base in Dubai, and we never got started.

22   So it was just an e-mail address that at the time made

23   sense, and now doesn't, because I'm not there.

24        Q
          Q     Got it.   So with respect to Universal Voice

25   Tech, Inc., I'd like to focus on mostly 2015 and 2016.



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 1   Can you tell me what Universal Voice Tech's business was

2    during that period?

 3        A     Well, it's always been the same, but we

 4   broadened our scope to undertaking some real estate

5    consultancy.   And we've been spending a lot of time in

 6   southern Spain and a lot of time in Europe.     As a result

 7   of my property development background, we have and had an

 8   involvement in this project, Vista de Paramount.     It's

 9   now called "Monterey;" we changed its name.     And that was

10   basically what we were looking to do; we were looking to

11   develop that. That's a completely separate Spanish

12   company still.

13              So that was where I was spending my time, and I

14   was looking for real estate agents to market this

15   product, Monterey.    And whilst we were attempting to

16   market this product or attempting to get sales for that

17   product, we came across, or we came across -- we were

18   introduced to Bar Works by Renwick Haddow.     And you know,

19   in intubating with him and looking at that product, one

20   of the agents that I'd introduced as a master agent that

21   I was spending a lot of time with, and I had also

22   introduced to Monterey initially, started to market that

23   product.   And of course when I say with some success,

24   they were able find that he sold a lot more easily than

25   certain Monterey products.



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 1               Monterey was the thing that I got them involved

2    in first, and Bar Works was the thing that they ended up

 3   selling more of, so to speak.     Ironically, we found that

 4   Monterey was very difficult to sell at the moment; we

5    were possibly a little bit too early in the Spanish

 6   recovery for it to work at all or to work well.       And

 7   these guys started to market Bar Works to their clients,

 8   and just found a much better uptake with Bar Works than

 9   with Monterey, so I guess naturally leaned that way, if

10   that makes sense.

11               MR. HEIM:    James, this is Robert.   Can you just

12   describe what you were selling, in terms of, you know,

13   was it real estate?      Or maybe just be a little more clear

14   in terms of what you were selling?

15               MR. MOORE:   Oh, I'm sorry, Robert.     Yeah, of

16   course.

17        A      We were selling what was defined or described

18   as a work-space lease.     And this was a thing.    And there

19   were lots of questions between us and Bar Works about

20   kind of what this was, and how it was defined, and so on,

21   because of course my background and the background of all

22   the agents that I talked to and introduced for my own

23   products in the past and then for this Bar Works product,

24   of course, they're all real estate agents.        And so, you

25   know, work-space lease made perfect sense to them.        They



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 1   understand leases, and I understand the lease.     It's

2    normal to expect that to come with some kind of a return

 3   of sorts.

 4               And so that was what was being offered, a

5    work-space lease on a work space in a co-working --

 6   whatever you want to call it -- office, I suppose, and in

 7   Manhattan in this case; initially I think West 39th

 8   Street in Manhattan.    And this co-working lease was

 9   supposedly going to be -- the returns for the clients

10   were going to be generated from the moneys paid by the

11   person who rented the space from the operator, in this

12   case being Bar Works.

13        Q      Okay.   I'd like to take a step back to the

14   beginning of how you met Mr. Haddow.

15        A      I met him a long time ago.   I was introduced by

16   another real estate salesperson.    I didn't have a lot to

17   do with him, kept in touch with him from time to time.

18   And ironically, I got in touch with him this time because

19   I wanted to know if he knew anyone who would sell my

20   product --

21        Q
          Q      Okay.

22        A      -- Monterey.

23        Q
          Q      Let me -- I don't mean to interrupt you, but I

24   just want to break down everything you're saying.     So

25   first, who introduced you to Mr. Haddow?



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 1        A     I was introduced to him a long time ago by a

2    gentleman whose name is Steven Quail.

 3        Q
          Q     Where did you meet?

 4        A     In London.

5         Q
          Q     Approximately when?

 6        A     Maybe 2010, maybe 2011, thereabouts.

 7        Q
          Q     Okay.   Under what circumstances did you meet?

 8        A     Just purely as an introduction.    I think it

 9   was -- I think Mr. Quail had met him through something

10   else.    I don't know.   To be honest, I didn't ask too

11   much, you know.

12        Q     Where did you meet?    Was it at coffee, or in an

13   office, or something else?

14        A     From memory, the first time I met him I think

15   was in a business club in London.

16        Q
          Q     When you say you didn't ask too much, was Mr.

17   Haddow talking to you?

18        A     I'm not sure I understand that question.

19        Q
          Q     Well, what was said when you met him?    Why was

20   the meeting set up?      Or was it just a chance meeting?

21        A     No, it wasn't specifically set up.    Mr. Quail

22   was meeting him, and introduced me; it was that simple.

23   I didn't -- there wasn't a meeting specifically arranged

24   for me to meet Mr. Haddow.     I was with Mr. Quail when he

25   met him.



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 1          Q     What was discussed during that meeting?

2                 MR. HEIM:    There wasn't a meeting.

 3                MS. KING:    I'm sorry?

 4                MR. HEIM:    He said there was not a meeting.

5           Q     Okay.    What was discussed when --

 6                MS. KING:    I'm sorry, I thought he said that

 7   they met in a business club in London.

 8                MR. HEIM:    Correct.

 9                MS. KING:    Right, so I'm talking about that

10   meeting.

11                MR. HEIM:    Well, it was an introduction.   It

12   wasn't a meeting.

13                MS. KING:    Okay.

14          Q     What was discussed during that introduction?

15          A     I don't remember anything being discussed at

16   all.

17          Q     Did Mr. Haddow -- sorry, go ahead.

18          A     It's a case of me being there when these two

19   people were meeting, and you know, they're having a drink

20   and passing niceties, and they introduced me, and I said

21   hello.

22          Q     Did Mr. Haddow tell you anything about himself?

23          A     Sorry?

24          Q     Did Mr. Haddow tell you anything about himself?

25          A     About his?



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 1        Q
          Q      Himself.

2         A      Not particularly.   Mr. Quail told me he was in

 3   the sales business, and I didn't ask any more.

 4        Q      Okay.   When was the next time you met Mr.

5    Haddow or spoke to him?

 6        A      Very, very hard to remember, because he's not

 7   been -- I've never worked with him, and it's not been a

 8   big part of my life.    I might have met him on probably,

 9   I'm going to guess, two or three other occasions.     Once

10   in a steakhouse on the Fulham Road in England, again with

11   Mr. Quail.    You know, it was a social thing, so.   Another

12   time -- at that time I was looking to work with Mr.

13   Quail, and that never transpired.    And so it was more Mr.

14   Quail I was spending time with --

15        Q      Okay.

16        A      -- than Mr. Haddow.   Another time we went to

17   his offices in East London.     You know, again I didn't pay

18   a lot of attention, to be honest.     So probably I may have

19   met him four -- perhaps four or five times over a

20   five-year period.

21        Q
          Q      Okay.   When you went to his offices in East

22   London, where were they?

23        A      Good question.   I don't know East London too

24   well. I couldn't tell you the precise district, I'm

25   afraid.



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 1        Q
          Q     Okay.   But there came a point, though, when you

2    wanted to talk to Mr. Haddow about marketing your

 3   Monterey interest, right?

 4        A     Correct, correct.

5         Q
          Q     What had Mr. Haddow told you up to that point

 6   about his work that made you think of him as someone to

 7   give a call to about Monterey?

 8        A     I had become aware over time that he sold

 9   products through sales agents around the world.     I met

10   him for a beer one time when I was in Dubai; one time it

11   was in Miami socially, and I met him socially in Miami.

12   So you know, those kind of conversations had come up at

13   those social events, I guess, those social interactions.

14        Q
          Q     Did you say "a proverb"?

15        A     I'm sorry?

16        Q
          Q     Did you say he sold a proverb?   Product?

17        A     A product.

18        Q
          Q     Product, okay.

19        A     I'm sorry.

20        Q
          Q     Okay.   What kind of product did he sell?

21        A     At that time he was selling African land.

22        Q
          Q     Okay.   Did he tell you anything about his --

23   about that venture?

24        A     At that time, Maureen, he was quite

25   tight-lipped about it, which gave me the impression it



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 1   was probably doing very well and he didn't want anybody

2    to know.

 3         Q     Okay.

 4         A     He appeared to be expanding quite quickly.    He

5    told me he had established an office in Australia.     He'd

 6   cleared established one in Dubai, because we met him

 7   there for a beer.    And that was that.   I mean, we were

 8   working at that time, we were working on -- at that point

 9   we were working on exploring building low-cost houses in

10   Brazil and in Colombia, again because my father-in-law

11   wished to give away a number of houses in Colombia.      And

12   we were looking at the possibility of being able to

13   semi-commercialize that and turn it into a, for want of a

14   better expression, a sustainable charitable enterprise, I

15   guess is the right word, you know; a little bit like a

16   much, much smaller version of the Gates Foundation for

17   giving away house.

18         Q     And when you say "we,"
                                  "we," whom are you referring

19   to?

20         A     Well, at that time I was working with a chap

21   I'd worked with for a very long time called Neil Story,

22   and another associate from -- again that I've never

23   worked with, but we were looking to establish the sales

24   side of the operation -- a gentleman by the name of Mr.

25   Gonzalez.



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 1          Q
            Q      Did you become aware of any other ventures that

2    Mr. Haddow undertook during your various -- the times you

 3   met him?

 4          A      No.   No.   In short, no, I didn't.

5           Q
            Q      So you only knew about an African land venture?

 6          A      Yeah.   When I originally met him, he was

 7   working on other things back then.        And the only reason I

 8   know is because he had a rack in his office with various

 9   brochures on it.      But I mean, this was five or six years

10   ago.    I was in there for maybe 15 or 20 minutes, and

11   left.      But it was clear that he was doing other things at

12   that time.

13                 I think the African land thing came along two

14   or three years later, but I don't know.        I wasn't

15   involved with it.         You know, I didn't have any close

16   social relationship with him.        He was just someone I came

17   across, you know, through me being in real estate,

18   basically.

19          Q
            Q      Okay.   Do you remember anything about the

20   brochures, names of entities or industries?

21          A      You know, I actually don't.    I remember more

22   about his conversation.        He said he liked great products,

23   and you know, I've just met the guy, so "that's great,"

24   that kind of thing.        I don't really remember.   I didn't

25   attach a lot of importance to any of it.



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 1        Q     Okay, that's fine.   Since you mentioned it, I

2    just wanted to see if you recalled anything else on that.

 3   So there came a point when you reached out to Mr. Haddow

 4   because you were interested in seeing if he wanted

5    something to do with Monterey.    Can you tell me about

 6   that meeting?

 7        A     Well, what I was trying to sell.    Just through

 8   piecing together the small pieces of information, it was

 9   apparent to me that he had set up a network of agents

10   around the world to sell his African land so they could

11   sell another land or property-based product.      And so that

12   was the purpose of my, if you like, dialogue with him at

13   that point in time.

14        Q     Okay.   When approximately was that?

15        A     Probably the middle of 2015.

16        Q     Okay.

17        A     Maybe between May and July, that kind of time,

18   because that's when we were bringing it to completion in

19   terms of the sweeps of marketing material.

20        Q     Okay.   How did you know he had set up a network

21   of agents around the world to sell his African land?

22        A     Again, just because he mentioned it in passing.

23        Q     What did he tell you about this network?

24        A     He didn't tell -- I find, Maureen, that in the

25   real estate business, and anything where someone is doing



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 1   well, especially through agents, people are quite

2    tight-lipped.   So this wasn't any individual

 3   conversation; it was over time.     I put a few pieces

 4   together in my own mind and said to him, you know,

5    "listen, do you have anyone who could sell this, or do
     "listen,

 6   you know anyone who might sell this," and that kind of

 7   thing.

 8              So he didn't tell me anything.    I surmised from

 9   what he was saying, you know, from time to time, that he

10   had got people selling African land.     Now, it might have

11   been -- and I don't know, I'm not going to assume -- it

12   might have been that he was selling it all himself.      I

13   don't know.   He might have got his own sales organization

14   organized.    That was an assumption of mine at the time,

15   which may have been completely incorrect.

16        Q
          Q     Okay.   So tell me about the discussions you had

17   with Mr. Haddow about Monterey and then Bar Works.

18        A     The Monterey ones were pretty much exactly as

19   I've said.    And mainly they would be, you know, e-mail

20   backwards and forwards.   "Have you got anyone who can

21   sell this?    What do you think?   How does the brochure

22   look?" You know, "do
                      "do you know anyone who would be

23   interested?" And this wasn't a unique conversation I was

24   having with Mr. Haddow, of course. I was having it with

25   various people.    "What do you think of the brochure?     Do



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 1   you think this will sell?   Any way you can see to improve

2    it," you know.

 3              And this industry, of course, I've been in

 4   probably one way or another for 15 years, and so there's

5    quite a lot of people I know who sell real estate, either

 6   agents or people who have got their own sales

 7   organizations. So in my mind, this was something going on

 8   with him and anyone else who may potentially be able to

 9   sell the products.

10              If you imagine, the Monterey project was a

11   project of some probably 3 to 400 homes, and those 3 to

12   400 homes, the land was paid for a very long time ago.

13   And so if we were to sell one of those homes, we would

14   make in the order of gross 80 to 100,000 euros per sale.

15   So of course we were not overly fussy, if you forgive the

16   expression, about whom we talked to initially to find

17   someone to sell it.   If these are property agents that we

18   know have got any kind of track record in sales, we will

19   speak to them.

20        Q     Okay.   So at some point the conversation

21   shifted, though, to Bar Works?

22        A     I think that was probably -- well, it must have

23   been, because I didn't know it existed -- so that must

24   have been something Mr. Haddow introduced into the

25   conversation.



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 1        Q
          Q     Tell me about what Mr. Haddow told you about

2    Bar Works.

 3        A     Well, at that point in time, of course, all of

 4   this, 99 percent of it, was by e-mail, of course.     And

5    from memory, he sent me something to look at, which was a

 6   picture.   And he talked about his new service office

 7   project.   I mean, obviously you're going to want to see

 8   copies of these e-mails, which I'll gladly provide, so

 9   please don't hold me to the accuracy of the words.

10        Q     All right.   I'm asking for your best

11   recollection and, you know, whatever you recall now would

12   be helpful. And we certainly appreciate you getting those

13   e-mails as quickly as possible.

14        A     Well, from memory, my first recollection of

15   what I saw was a piece of very good CGI, you know, an

16   artist's impression, that had been made to look like --

17   my immediate impression was that it was meant to look

18   like Soho House.   I was a member of Soho House until

19   quite recently.

20        Q
          Q     Let me just stop you for a second.    A CGI is a

21   rendering or a drawing of some sort?

22        A     Yeah, it's a computer graphic image, I think it

23   stands for.

24        Q
          Q     Okay, great.

25        A     Computer-generated imagery, which is very



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 1   photorealistic.     And I was impressed by the picture --

2         Q      Okay.

 3        A      -- because it looked funky, it looked cool, it

 4   looked good.      And, you know, he told me something

5    about/along the lines of -- I was asking him if he want

 6   to fund some of the marketing for us and do some kind of

 7   a joint venture with the Monterey sales.     And he said no,

 8   because he was putting all his money into his new service

 9   office business.

10        Q      I'm sorry, what business?

11        A      Well, I think he described it as service

12   offices.

13        Q      Service offices?

14        A      I believe that's the term he used.

15        Q      Okay, sorry, no, I just wasn't hearing you.     I

16   apologize.

17        A      Oh.   As I said, please don't take me to task on

18   the exact accuracy of the words.     That's the flavor I got

19   from it, anyway.

20        Q      But -- no, that's fine, that's fine.   So please

21   continue?

22        A      What was the rest of the question?   That's my

23   initial recollection.

24        Q      Okay.   So he mentioned that he was putting all

25   his money into what you understood to be Bar Works?



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 1        A     Yeah.

2         Q     Okay.   And how did the -- were there follow-up

 3   conversations about ways you could work together on Bar

 4   Works?

5         A     Yeah.   Yeah, there was.   He -- as I would --

 6   well, I'd been trying to persuade him, you know, to sell

 7   or get other agents to sell my Monterey products.     And I

 8   guess he thought, well, he could get me to do that, to

 9   which I said "well, I don't want to be anybody's sales

10   agent.   Perhaps we could be a partner in it." And

11   initially he said yes, and then disappeared on me for

12   three or four weeks, and I didn't hear anything, so I

13   guessed he'd changed his mind.

14              I learned the business was in New York, and

15   took my wife up there, and we had dinner and a drink in

16   Soho House.   And you know, at that point I told him how

17   disappointed I was in him in retracting his offer to be a

18   partner.   And he said he wanted to control the whole

19   business himself.    He extended a verbal offer of having

20   perhaps a piece of equity later.      That was never -- that

21   wasn't formalized, of course.

22              And I said "well, if we can do something like

23   that on a handshake, then perhaps I can get some agents

24   to sell these leases for you." You know, I've got

25   tremendous reach in the Middle East, in Europe and Asia.



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 1   You know, he knows my background in real estate sales.

2    So you know, and this is something that we are quite well

 3   known for, Maureen.    We sold about 31 and a half thousand

 4   properties over about a seven-year period in the 2000s.

5    So you know, it's what we do and it's what people know us

 6   for.

 7          Q
            Q     Which entity did you do that through?

 8          A     That was through Inside Track.   But of course,

 9   the relationships don't disappear with the business.      The

10   business was up for sale, and we lost the business in the

11   recession, you know, which was unfortunate.     But of

12   course the relationships don't disappear with the

13   business.

14          Q     Got it, okay.   So what happened next?   How did

15   Mr. Haddow respond, or what were the next steps?

16          A     Well, I was already forming relationships with

17   various agents, one primarily to be a master agent for

18   me, being United Property in southern Spain.      And, you

19   know, what did Mr. Haddow say?     I honestly can't really

20   remember. I think the outcome of this was "I'll go away

21   and I'll do this, but we need to work out an equitable

22   deal on the basis of I don't want to be purely a sales

23   agent on some small amount of commission." If I'm going

24   to own my 20-year Rolodex, then you know, I ought to be a

25   part owner of the business, or at least, you know, a



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 1   beneficiary of a substantial amount of any sale that we

2    made.    It was obvious to me that he wasn't selling

 3   anything at that point, or so it seemed.

 4        Q      What deal was worked out, if any?

5         A      Well, the original one was -- I think, from

 6   memory, on the telephone -- was that this would be 50/50.

 7   He went quiet on me and, you know, that's what prompted

 8   my telephone call to him and trip to New York.     I thought

 9   he'd got a very good idea with service offices.      He told

10   me the competitor was a company called WeWork, which I

11   researched and found to be a very, very good idea, in my

12   opinion.    And I found the whole proposition very

13   exciting.

14               He told me that he would come up with a way

15   that these things could be sold based on these work-space

16   leases; you know, you could sell one of these to an

17   external investor.   I asked him about the United States.

18   I said I wouldn't be comfortable just selling in the

19   United States. We agreed that I wouldn't, and I didn't,

20   and so on.   Whether he did, I don't know.   And the deal

21   was going to be:   I would have half of the rest of the

22   world as the business expanded.    And there was some talk

23   about a third of the business in the United States.

24               Now, the way the money was going to be split

25   was -- he'd worked out a commission system already.     It



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 1   was clear that he didn't want any -- he didn't seem to

2    really want any input from anybody.    He seemed to want to

 3   control the whole shooting match himself.    He said he

 4   didn't want a partner.   He wanted to do it himself with

5    his wife or his girlfriend -- no, it was his wife by

 6   then, sorry.   And that pretty much was how it was left.

 7             I'm trying to think of how the numbers worked.

 8   Broadly, it was a sales agent -- the master agent would

 9   get 30 percent of the money, and he would divide the

10   balance of the money 50/50 with us, basically; "us"
                                                    "us" being

11   UVT, or me, or whatever you want to call it, but working

12   through UVT, because of course that was what I'd set out

13   to do with my wife.   And that was the agreement.

14             And of course, the rest of the conversations

15   around equity and so on were conversations that ended up

16   being ongoing, never formalized, never completed, never

17   given, never done.    And if there was anything I learned

18   about Mr. Haddow throughout this short relationship, it

19   was that it was unlikely that anything would ever arrive

20   in writing, so to speak, or properly formalized.     So none

21   of the -- not all those things were -- nice

22   conversations, but never actually happened.

23             The original conversation, of course, I said I

24   didn't want to be in any kind of competition as a sales

25   agent, especially if I was introducing the kind of people



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 1   I was doing.    You know, my partner in Monterey is an

2    ex-Swiss diplomat.    He's very credible.   He's worked with

 3   me for a long time.   We didn't want to be competing with

 4   people.    At that early stage Mr. Haddow said we wouldn't

5    be, but it very quickly became apparent that he'd

 6   developed emotional amnesia; he clearly didn't mean that,

 7   because he quickly set about setting up his own agents,

 8   effectively in direct competition with us, so.

 9        Q
          Q      How did you know that?

10        A      Because he started stealing ours.

11        Q
          Q      And can you give me some examples?   How do you

12   know Mr. Haddow was stealing agents?

13        A      Well, as a for-instance, you know, I think we

14   all -- when we deal with people with something, we all

15   develop something of an instinct.    And you know, when

16   someone is resistant to clarity and saying "yes, I'll

17   definitely hand you all that," you know, it puts us all

18   on notice that we've got to be careful.     And he was

19   reluctant to give us the whole master agency to go and

20   promote this on our own.

21               In other words, he was reluctant to allow us to

22   be, you know, the only entity in charge of selling the

23   product outside the United States.    And of course I had

24   to ask myself why.    And so it quickly became -- he said

25   he'd already got some people selling the product, but



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 1   this only came out after our conversations; otherwise we

2    might not have been as keen to pursue it as vigorously as

 3   we did.

 4               And then some of the agents we took on or we

5    approached, there's a natural question in our industry

 6   where people say "are you the developer?" Well, of course

 7   we weren't the developer for this.    I'm the developer of

 8   Monterey, so I could answer honestly "yes, I'm the

 9   developer of Monterey." And for some reason, it may not

10   be logical, but you find that, you know, real estate

11   agents typically want to deal with the developer

12   directly.    Whether they feel they're getting a better

13   deal, and they'd be able to get more accurate

14   information, they'd get paid more quickly -- there's a

15   variety of reasons that they'll give you.

16               And so of course we would be asked "are you the

17   developer?" And we had to say "no" to that, "we're not

18   the developer." So the next thing people would typically

19   do would be telephone the developer directly themselves,

20   in this case Bar Works, and then try and get a deal

21   directly. And Mr. Haddow had got a chap there, called Sam

22   Aura, working for him directly, who apparently had

23   previously been quite successful selling parking spaces

24   for a British company called Park First, or so we were

25   told.   And very quickly it became apparent that Mr. Aura



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 1   was signing people up directly, you know, that we had

2    introduced.

 3               So of course, here we are doing the work and

 4   doing the job of getting people interested and warming

5    them up and putting our reputation out there.      And for

 6   Mr. Aura to say "well, you know, we'll pay you more

 7   quickly, and wouldn't it be better dealing directly with

 8   the developer" -- and there were a number of instances

 9   like that.    It's difficult for us to --

10               MR. HEIM:    James, can you clarify that the

11   people that you were introducing -- were they sales

12   agents, as opposed to investors?     Or can you just clarify

13   who you were introducing?

14               MR. MOORE:   Yeah, sure, Robert.   Everybody we

15   dealt with were real estate agents.     Everybody.   Again,

16   without sounding like a broken record, Robert, that's the

17   business I've been in for a very long time.      And so

18   everything -- we don't deal or I don't deal directly with

19   investors at all in anything.     I don't deal with my own

20   client.    When I said I sold 31 and a half thousand

21   properties, you know, it was through a business, and we

22   had a lot of events take place, and so on.      So these were

23   purely, purely real estate agents.

24        A      And not every one of them that's been -- I'm

25   going to use the word "poached;" not every one of them



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 1   that's been poached or stolen from us, you know, is going

2    to call us immediately and say "hey, we just got a better

 3   deal by going direct." You know, they're kind of

 4   embarrassed about that, so in most cases they won't.       So

5    I suspect, whereas we're aware of probably three or four

 6   that that's happened to -- I suspect if we're aware of

 7   three or four, there might be 15 or ten or 20.     I don't

 8   know.    It's hard to know exactly how many there would be.

 9        Q
          Q      Okay.   I actually want to take a couple of

10   steps back and break down some of what you said.     Before

11   we get there, though, can you just spell Mr. Aura's name

12   for me?

13        A      A-U-R-A -- well, I think A-U-R-A.   That's the

14   spelling that I was given, anyway.

15        Q
          Q      And do you have contact information for Mr.

16   Aura?

17        A      I only have -- I met him once.   Give me a

18   second. Let me see if I've got an e-mail.

19        Q      Okay.

20        A      I didn't have a very easy conversation with

21   him. You know, I'm quite forthright, and I think my

22   initial conversation was "why
                              "why do you keep stealing our

23   agents?"

24               Samuel BarWorks.nyc.

25        Q
          Q      Okay.   All right, let's take a step back to



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 1   when you were having discussions with Mr. Haddow about

2    Bar Works.

 3        A      Yeah.

 4        Q      I want to talk about the payment structure and

5    the deal, but what did you understand your role to be?

 6   So what were you actually -- sorry?

 7        A      Sorry, Maureen, go ahead.

 8        Q      What were you actually going to be selling?

 9        A      Work-space leases.

10        Q      Did Mr. Haddow give you any documentation

11   surrounding the leases -- talking points, some sort of

12   memoranda, anything to educate you about these work-space

13   leases?

14        A      Yeah.   Initially, some -- well, some

15   documentation.      They were creating -- they were

16   effectively creating all the documentation surrounding

17   the product.   So they were supplying us with various --

18   I'm going to say control paperwork, deal sheets, you

19   know, things like the work-space lease itself, all of

20   these -- all the things.

21               When we market a product, any kind of product,

22   to a buyer, the -- real estate is different in Europe and

23   Asia than it is in the United States.     And please excuse

24   me if I'm stating the obvious.     When I say it's

25   different, we often find that because real estate isn't a



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 1   heavily regulated investment like it is in the United

2    States, it tends to have, I don't know, perhaps a broader

 3   audience or perhaps a broader spread of product types.

 4   And so, you know, agents like us would sell maybe -- if

5    you've got an agent selling to the end investor, they

 6   would sell two, three or four different products.     They

 7   might offer student accommodation, car parking spaces,

 8   and maybe Bar Works.

 9             And so there's quite a well-trodden path that

10   would dictate the kind of things people ask for.     They

11   want to know things like, you know, where is this place,

12   is there a title with it, what do I get for my money,

13   where do my returns come from, and so on and so forth.

14   So some of those materials they would be creating at the

15   time.

16             And we appreciated that the reason we were --

17   or part of the reason, supposedly, although it didn't

18   transpire to be the case, I don't think -- part of the

19   reason supposedly that we were, you know, we were

20   enjoying a perhaps a disproportionately high return for

21   our efforts was that, you know, part of our work would

22   be -- finding hearing people would be harder than it

23   would be six and 12 months down the road.

24             So you know, the kind of things people ask for

25   are always the same, Maureen.    How am I going to get my



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 1   return from this?    Well, it's a student room.     Students

2    are going to rent it; you know, you've got half of the

 3   money, or whatever the basis of that product may be.         And

 4   so they furnished us with all these various different

5    materials, which I'll gladly furnish you guys with, of

 6   course, anything that they sent me.

 7        Q
          Q      Yeah, that would be super helpful.     When you

 8   mentioned the student room and another option and Bar

 9   Works, were those all with Mr. Haddow?

10        A      No.   I'm sorry, let me clarify.    I didn't mean

11   to in any way muddy the waters.       Bar Works has nothing to

12   do with student rooms.      I was using that as an example --

13        Q
          Q      Okay.

14        A      -- of the kind of product that sales agents --

15               (Interruption to telephone connection.)

16        Q
          Q      Hello?   Hello?

17               MR. HEIM:    James?    Looks like we lost James.

18               MS. KING:    Yeah.    Do you want to try to --

19               MR. HEIM:    Let me see if I can let him know we

20   lost him.    Hold on one second.

21               MS. KING:    Okay, great.

22               (A discussion was held off the record.)

23               MR. MOORE:    Hello?

24               MS. KING:    Hello, are you back?

25               MR. MOORE:    Yeah, I got cut off the line there.



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 1              MS. KING:   Okay, Robert, are you on the line?

2               MR. HEIM:   Yes, I am.

 3              MS. KING:   Okay, super, I just wanted to make

 4   sure everyone was on the line.

5         Q
          Q     So I just confirmed everyone was on the line.

 6   And the last thing I heard was that you didn't want to

 7   muddy the waters, and you were distinguishing student

 8   room and another investment from Mr. Haddow and Bar

 9   Works, is that right?

10        A     Yes.

11        Q
          Q     Okay, super.

12        A     That is correct, yes.

13        Q
          Q     Okay.

14        A     I was trying to illustrate for you guys the

15   kind of products that sales agents, real estate sales

16   agents in Europe or Asia, would typically offer to their

17   own client base or investor base.    You know, they might

18   have a range of products -- say student rooms from

19   Developer A, Bar Works from Developer B, and Monterey

20   from Developer C, being me in Spain, or something like

21   that.

22        Q     Got it.

23        A     You know, and the reason that they were

24   typically offer more than one product is quite simple.

25   They would invest a lot of money in marketing, and wanted



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 1   to make their marketing work as hard as possible.

2                 I do apologize; I'm not quite sure what the

 3   question was that took me down that route.

 4          Q     I had asked you whether Mr. Haddow was involved

5    in any of the other investment opportunities you

 6   mentioned.

 7          A     No, no.

 8          Q     Okay, great.   So you mentioned -- sorry, go

 9   ahead.

10          A     And for clarity, in the eventuality of things

11   neither did he became involved in Monterey in any way,

12   shape or form, so you know, that's purely our own project

13   as well.

14          Q     Okay.   What were the answers -- first of all,

15   we appreciate very much you providing the documents Mr.

16   Haddow provided you with; that would be very helpful.       So

17   we can take that up your counsel, but that's great, thank

18   you.

19                What were the answers to the questions about

20   the Bar Works leases?       So you mentioned a series of

21   questions that people wanted to know about every lease or

22   every, you know, investment.

23          A     Yeah.

24          Q
            Q     What were the answers for Bar Works?

25          A     It would be -- the questions are similar,



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 1   Maureen, with any of these kinds of products.     I'm going

2    to call them real estate-type products for this

 3   conversation.   And people always want to know similar

 4   things.    You know, how safe is my money, how do I get my

5    money back, and how is my return funded?     You know, and

 6   the answer that we would give them by Bar Works is:

 7   Their return is funded.

 8               The reason that they will always receive their

 9   return is that their work space is leased out to a user

10   prior to any others, so let's -- I'm not going to say

11   let's them have it.   So the explanation as we were given

12   it was: The company -- if the company has 100 work

13   spaces, and it has sold 20 work spaces or 50 work spaces

14   on leases to individual owner/investors, then those 20 or

15   50 will always be leased out first, and the individual

16   will also get a copy of the agreement with the -- I don't

17   know if "tenant" is the right word; I think "member" is a

18   better word -- but they would also get a copy of the

19   member attached to that space. So that was the

20   explanation given to us.

21        Q      Who gave you that explanation?

22        A      Well, I can't remember if it was given to us

23   directly by Mr. Haddow, but I'll certainly look in my

24   e-mails and I'll find where that came from.

25        Q      Okay.



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 1        A     That was the explanation to us.    If it was

2    explained verbally, it would have been Mr. Haddow.

 3        Q
          Q     Okay.   Were there other folks giving you

 4   information about how Bar Works investments were working?

5         A     Nope.   No, there weren't.   The reason -- if I

 6   don't appear to be 100 percent clear, the reason is this:

 7   I wasn't the person asking all the questions.       Remember,

 8   my role really was to expand the sales/the agent base of

 9   the business.   And so the master agent that I had already

10   appointed for my own product, Monterey, was United

11   Property in Spain.    And so a lot of the flow of questions

12   and information quite quickly stopped going directly from

13   me to Renwick Haddow or Renwick Haddow to me.       It went

14   between the agents and Bar Works.     When I say "Bar

15   Works," 99 percent I mean Mr. Haddow, so I'm not trying

16   to in any way, you know, confuse.     The flow of

17   information went quickly between Bar Works and the agent.

18        Q
          Q     So who was the agent at United Property that

19   the information flowed to?

20        A     Well, that is the agent.     I mean, United

21   Property now employs about 70 or 80 people.     It's not a

22   small business.    I mean, they would typically communicate

23   probably with one of the principals, either with James

24   Robinson or with David Kennedy.    You know, and it would

25   depend on the agent, obviously, but that particular



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 1   company is quite a big business.

2         Q
          Q     But when you called United Property to talk to

 3   the agent, whom did you talk to about Bar Works?

 4        A     I would talk specifically to David Kennedy or

5    to James Robinson, and later on to David Honeyman.

 6        Q
          Q     David Honeyman?

 7        A     Yeah.

 8        Q     Okay.   And would you provide us with contact

 9   information for those folks?

10        A     Absolutely, no question.

11        Q
          Q     Okay.   All right, thank you.   And what was

12   the -- what role did you give the master agent?     What was

13   the master agent responsible for doing?

14        A     Well, again, it's more of a recognized role

15   than a role I gave them, if that makes any sense.

16        Q
          Q     It does.   So then, can you tell me what that

17   role is?

18        A     Yeah.   Just for clarity, though, Maureen,

19   because I don't want to say something that doesn't in any

20   way describe what I was doing with them, or in any way

21   confuse that:   The role of the master agent in our

22   industry, typically -- so remember, I had approached

23   these people for Monterey and not Bar Works, so I had

24   already developed something of a relationship with them.

25   They knew me by reputation, and I knew them by reputation



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 1   from the past; hence the reason we were able to talk to

2    each other in the first place.

 3             And what they prepared for Monterey was a full

 4   suite of marketing materials.    That would be things like

5    the brochures and so on.   Now, you know, we produced

 6   things, obviously, things like pictures of the houses,

 7   the renders, and all of those things.    With Bar Works it

 8   was slightly different, because Renwick and Bar Works, or

 9   Renwick, appeared to want to control everything very,

10   very tightly, you know, in every single way.     And so, you

11   know, the job was slightly different.

12             As master agent, our job was to find -- let me

13   put on a United Property hat for a moment.     As master

14   agent there, our job was to find as many other agents as

15   possible to sell this product as we could, in the

16   shortest time, to make as much money as possible as

17   quickly as we could.   And that is the nature of it with

18   any product, really.   The reason someone wants to be a

19   master agent is that they earn something on the other

20   agents' efforts.

21             And the only people that are able really to be

22   selected as master agents by any developer are people who

23   have got a track record of success.    So the chaps -- I've

24   mentioned James Robinson and Dave Kennedy; they have been

25   in real estate sales in southern Spain probably for ten



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 1   or 12 years.   You know, I knew them by reputation,

2    because they'd done very well before.

 3               Likewise, David Honeyman used to own his own

 4   business in southern Spain, as I did.     You know, I lived

5    in Spain for seven years between 2003 and 2010, and I had

 6   a business down there, employed about 45 people, which

 7   was an offshoot of my UK business.     And so all these

 8   people are people that I know, you know, for five or ten

 9   years; if not personally, then by reputation.

10        Q      Okay.   So was the master agent actually selling

11   the leases for office space in the U.S. or elsewhere?

12        A      They wouldn't have sold them in the U.S.,

13   because from a policy point of view, I had never sold in

14   the U.S., and my advice to them would always be not to

15   sell in the U.S.      And everybody's advice within the

16   business would be "don't sell within the U.S." If Mr.

17   Haddow wanted to, that's up to him.     I don't know whether

18   he did or he didn't. We certainly didn't.

19               We did sell leases directly to people

20   elsewhere. When I say "we,"
                           "we," I mean United Property, not

21   Universal Voice Tech.     United Property as an agent of

22   course would have sold elsewhere, and so would their

23   agents.

24        Q
          Q      What --

25               MS. KRISHNAMURTHY:   Can I just make sure -- I



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 1   want to make sure I'm clear about what was being sold,

2    when, and where.

 3                          EXAMINATION

 4               BY MS. KRISHNAMURTHY:

5         Q
          Q      So the property -- the master agent, United

 6   Property, was selling leases to investors or, you know,

 7   the end people outside the United States, is that what

 8   you're saying?

 9        A      It would have done that, yes.

10        Q      Okay.

11        A      As well as --

12        Q      And then but the -- go ahead.

13        A      Sorry, go ahead.

14        Q
          Q      No, no, I don't want to cut you off.

15        A      Well, I don't want to in any way confuse by

16   trying to label things.     Of course, the job of a real

17   estate agent is to make as much money by the purveyance

18   of real estate to an end user as possible, be that

19   through themselves or be that through subagents that they

20   bring in.    And so they would have marketed the product

21   themselves directly.

22               And in this case, because I'm close to them, I

23   know -- I've got a broad idea where they marketed.     They

24   marketed into Europe, primarily into places like the UK,

25   and also into the Middle East and Asia.     So you know,



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 1   they would have been marketing into Kuwait, Saudi Arabia,

2    Dubai, Qatar, maybe Nigeria; certainly in places like

 3   Hong Kong, Singapore, Malaysia, and so on.     That would

 4   have been where they would market the product.

5              They would equally be looking for effective

 6   agents in those areas, who could market the product --

 7   I'm not going to say more aggressively, but what always

 8   increases the sales of any kind of product like this --

 9   let's say, let's imagine -- well, I don't have to

10   imagine, I can talk from experience:    When I had Inside

11   Track, if somebody had bought an apartment in Glasgow,

12   and I then launched a new development in Portugal, the

13   people who'd bought from me before of course had

14   developed confidence in me and knew that I was reliable;

15   and so I would get a higher uptake of the properties in

16   Portugal than if I went to a cold group or a cold market.

17             And that's one of the other reasons that, you

18   know, United Property as the master agent would go out

19   and find other agents:   Because those agents equally have

20   a client list of people who trust them, from having

21   bought property from them before.    James Robinson helped

22   VT Student in England, which is a brand leader, helped

23   them to develop quite a large network of owners, about

24   two and a half thousand owners, over an 18-month period.

25   So this is something that he has done very successfully



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 1   before.    And United Property would do that.

2                MR. HEIM:    I think you're just a little bit

 3   afar of the question.     Maybe you could help limit the

 4   focus on what the topic of the question was.

5                MS. KRISHNAMURTHY:    Yeah.

 6               MR. MOORE:    Sorry, Robert.

 7         Q     So let me just try and make sure I understand.

 8   So you -- did you provide the instructions to United

 9   Property, or was there anyone else who provided those

10   instructions?

11               MR. HEIM:    What instructions are you referring

12   to?

13               MS. KRISHNAMURTHY:    So -- okay, I apologize.

14   Let me just step back for a moment.

15         Q
           Q     You talked about the -- you talked about what

16   United Property and any subagents would have done, where

17   they would have located investors.        Who instructed them,

18   if anyone, as to where in the world to go locate these

19   investors?

20         A     Well, they are an independent -- is this

21   Maureen?

22         Q     No.   I'm sorry.   This is Preethi Krishnamurthy.

23   Ms. King introduced me earlier, but I'm trial counsel

24   here at the SEC.

25         A     Krishna, all these agents are independent



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 1   businesses in themselves.    And so, you know, it wouldn't

2    be my place, or anybody's place, to instruct them what to

 3   do. You know, that's their decision, so to speak.

 4        Q     Okay.   Well, let me come back to -- early on I

5    think you had mentioned that initially you and Mr. Haddow

 6   had some sort of verbal understanding, that was never put

 7   to paper, that you would be responsible for some portion

 8   of sales outside the United States.    Is that a fair

 9   summary of what you had told us earlier?

10        A     My understanding was that the basis of the

11   original agreement that was offered to me, that was never

12   consolidated or confirmed, was that I would eventually

13   own -- and when I say "I," me and my partners, whomever I

14   wanted to carve it up with -- would own half of the

15   business outside the United States.    Now, wherever --

16   "half of the business" meaning, remember -- well, I'm
     "half

17   saying "remember;" you don't know, of course, Krishna.

18              Mr. Haddow's proposition was that this business

19   would be sold or listed, you know, and everybody was

20   going to get awfully rich.    So the idea of owning half of

21   it was a very exciting proposition.    It looked like

22   WeWork, which last week was valued at $16 billion, and

23   looked like there was an awful lot of work to do.     I

24   think that's what everybody was so excited about.

25        Q     Okay.



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 1        A     Now --

2         Q
          Q     Just to be clear, though, was Mr. Haddow

 3   dealing directly with United Property, as far as you

 4   know?

5         A     Mr. Haddow would communicate directly with all

 6   the -- with many of the agents, and certainly United

 7   Property, yes.

 8        Q     Okay, all right.    That's what I was trying to

 9   understand.   And so --

10        A     I would typically --

11        Q     Go ahead.

12        A     Sorry.

13        Q     No, no, go ahead.    I don't want to cut you off.

14        A     I would typically be copied in on some, if not

15   all, of the correspondence.

16        Q     Okay.    And with respect to the leases

17   themselves that United Property was selling, did you

18   understand those leases to be for office space in the

19   United States, outside the United States, or both?

20        A     No.   Our understanding was always that the

21   lease was a work-space lease that referred to a specific

22   work space.   So let's think for a moment that you've

23   got -- well, this is what we saw; we didn't have to think

24   or imagine:   If we went in West 39th Street, which is an

25   old restaurant and bar in Manhattan, as you walk in the



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 1   bar is on the left; down the left-hand side there's a

2    long table with a number of work spaces.    And the

 3   proposition was that these work spaces -- the lease on

 4   each work space was sold to an individual investor.

5               And those individual investors, who were all

 6   outside the United States in our case -- and when I say

 7   "ours" I mean United Property, not Universal Voice Tech,
     "ours"

 8   because we were the introducer of the agents -- but all

 9   those leases in the case of United Property, for

10   instance, who sold to investors outside the United

11   States, their understanding was:    I am buying a lease on

12   a piece of space in a serviced office in Manhattan.      That

13   was the understanding, and that's what they were buying.

14              And they understood -- or their understanding

15   was they received their income directly from Bar Works,

16   not from me or United Property; they received their

17   income directly from Bar Works.    And the explanation

18   given to them was that income was derived from all the

19   members who were paying to come into these work spaces

20   and use this collective space, this co-working space.

21        Q     What --

22              MR. HEIM:    James, was it your understanding

23   that the investor would own the specific lease, and that

24   there would not be any co-mingling of investor funds?

25              MR. MOORE:   That is what we were always told,



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 1   Robert, yes.   And we were told that -- in this case we

2    were told specifically that when a member signed up to be

 3   a member of Bar Works, then those membership agreements

 4   would link directly to the work-space lease that the

5    investor had bought.

 6              And so as a for-instance, if the investor had

 7   bought Work Space Number One or the lease on Work Space

 8   Number One, and a member walked through the door, and it

 9   happened to be the first one, and they said "I'd like to

10   become member, please," Bar Works would say "sign --

11   that's fine, fill in this, sign here, give us your $500 a

12   month" or whatever they were charging.    And the first

13   part of that money would pay the income to the investor

14   that the investor was promised.

15        Q
          Q     Okay.   And at this time -- first of all,

16   when -- I think you said earlier that at least an initial

17   discussion with Mr. Haddow was somewhere between May and

18   July in 2015. Just to be clear, when you and he came to

19   this general verbal understanding that you described

20   again a few minutes ago, was that during that time

21   period, or after that time period?

22        A     Is this Krishna still?

23        Q
          Q     Yeah.   Just to be clear -- I'm sorry, I should

24   have spelled my name for you first.    My first name is

25   Preethi, P as in "Peter," R as in "Robert," E, E, T as in



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 1   "Thomas," H, I.
     "Thomas,"          My last name is Krishnamurthy, and it's

2    very long, and you should be feel free to call me by my

 3   first name.

 4        A     I'm sorry, Preethi.

5         Q
          Q     No, no, no problem.

 6        A     The initial discussions I had with Mr. Haddow

 7   were all about Monterey, and nothing else.     You know, it

 8   wasn't intent, it wasn't -- it was the odd e-mail here

 9   and there and, you know, asking him a question about the

10   layout and things like that; you know, did he know anyone

11   who could sell it.     And then around about July or August

12   he introduced this Bar Works thing, you know, and asked

13   my -- from memory, asked my opinion of it and, you know,

14   it was going to be his new product or something.     So

15   that's how that came about.

16        Q
          Q     Okay, so that was July or August 2015?

17        A     Approximately, yeah.

18        Q
          Q     Okay.

19              MS. KRISHNAMURTHY:    All right, go ahead.

20                          EXAMINATION BY

21              MS. KING:

22        Q
          Q     What were the terms of the leases?    So was

23   there a fixed cost for them?     And what were investors

24   expecting in rents?

25        A     The initial lease terms, from memory again,



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 1   they were selling the lease for 22,000 U.S. dollars, and

2    they were expecting a guaranteed amount of rent over a

 3   ten-year period.

 4        Q     Of approximately how much?

5         A     Yeah, I'm going to say -- I'm going to say 15

 6   percent, but I would need to look.

 7        Q     Okay.

 8        A     The reason I would need to look is because we

 9   are doing this kind of thing all the time ourselves with

10   different products.   So for me, Bar Works now is quite --

11   it's not new in my mind.   I can't remember the exact

12   number, but let's -- for this point in time, I think 15

13   percent.

14        Q
          Q     What guaranteed the percentage?

15        A     Again, the explanation given to us was the fact

16   that the -- the logic or rational given to us, Preethi,

17   was if it was 100 work spaces, they will sell, as an

18   example, 20 of them to investors.    And when the members

19   come in, the first 20, or the first ones to be occupied,

20   will always be the work spaces belonging to the

21   investors.   Therefore, Bar Works would always be able to

22   pay these returns.

23        Q
          Q     Well, what if workers -- sorry, what if folks

24   did not come in to lease the spaces, though?

25        A     Well, I don't think that kind of speculation is



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 1   for me to enter into right now.

2         Q     Okay.

 3        A     From our point of view, you know, we visited

 4   WeWork in London, we visited WeWork in New York.     When I

5        "we," I did.
     say "we,"          You know, my partner visited there with

 6   me. The guys from United Property did.     That's clearly a

 7   successful business.   We went to other co-working

 8   locations. And the indication from Mr. Haddow was that he

 9   was going to aggressively market to members, and

10   therefore that wouldn't be a problem.

11              And by the way, it was on West 39th Street in

12   Manhattan, which in tens looked extremely busy.      We went

13   to look at the site --

14        Q     Okay.

15        A     -- and it seemed extremely busy, so.    There is

16   another element to this as well, Preethi.    And that is,

17   you know, for us, we would consider the United States to

18   be the most regulated place on earth.    And only some kind

19   of stark raving lunatic would open his business on West

20   39th Street and then, you know, not do what he'd said he

21   intended to do. We assumed that -- we assumed rightly or

22   wrongly.

23        Q     Were -- how many work spaces did you understand

24   the 39th Street location to have?

25        A     Well, each one was different.   We were



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 1   supplied -- when I say "we were supplied," we were given

2    the numbers by them.     And so each one had a different

 3   amount.    From memory, I think West 39th Street, initially

 4   he said he was going to sell ten.    But now I think he

5    said he was selling 55; I don't know.

 6        Q      And was that -- go ahead?

 7        A      I'm not being evasive.   There are two issues

 8   here. One is I don't remember the numbers precisely.       And

 9   two is these conversations would have been more between

10   him directly and the agent.

11        Q      Okay.   So -- all right, so you don't remember

12   the total number of spaces versus how many he was

13   selling?

14        A      No.   Well, I wouldn't have known how many he

15   was selling because, of course, whereas initially my

16   proposition to him was that all the sales would be

17   channeled through us one way or another, he resisted

18   that; and so we had no way of ever knowing how many he'd

19   sold.

20        Q      Okay.

21        A      That was a bone of contention to us, of course,

22   that we never really knew.

23        Q      And you mentioned the 39th Street space.   But

24   then I thought I understood you to say that the spaces

25   were different for each location.    Was there more than



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 1   one location?

2         A      There is.   There is more than one location.

 3        Q      How many are there?

 4        A      I visited three of them, three of his

5    locations. West 39th Street, when I first went there, was

 6   being worked upon and not quite open; we saw it being

 7   opened.    And then Times Square, which I think -- I can

 8   get you all the addresses.    I just don't know them.

 9        Q      Okay, and that's fine.

10        A      And then there's another one in West Village.

11   And because we're not involved in it anymore -- we went

12   there when it was closed but had paper in the windows,

13   you know, talking about "opening soon" and "Bar Works"

14   and so on -- I don't know if that's opened or not.

15        Q      Okay.

16        A      He claims to have five locations now.   One in

17   San Francisco, one in Tribeca that he'd discussed with me

18   and didn't seem to go any further, you know -- and again,

19   another reason this is a bone of contention for us is,

20   not only have we not been paid everything that we believe

21   we were owed, but also, this guy had the audacity to, you

22   know, steal sales agents that we had introduced.     Of

23   course, that had the effect of reducing any money we were

24   paid as a proportion.    And then secondarily, he also had

25   the audacity to charge us a contribution for anywhere



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 1   that he owned, but he had no intention of ever giving us

2    anything.

 3        Q      Okay.   Tell me about that.   How much did Mr.

 4   Haddow charge?      And when you say "you," which entity are

5    you talking about?

 6        A      Well, he charged UVT.   He charged us a

 7   contribution for any of the new places he was committing

 8   to or opening or had costs for.     So he charged us a fee.

 9   We had an interest in it, but of course he never gave us

10   an interest.   So it was just another way we perceive of

11   him reducing what he paid us.

12        Q      How much was UVT charged for each of the

13   entities that were opened?

14        A      Okay, it was charged -- again, we don't know,

15   because we don't know the real costs.      But according to

16   him, he was charging us one third of the cost.

17        Q      And could you quantify that for me?

18        A      I can't quantify it exactly.    I can send you

19   his very basic numbers that he sent to me, certainly.

20        Q      That's fine.   That would be helpful.

21        A      Of course, it never materialized.    We were

22   never given anything.

23        Q
          Q      Okay.   I want to go back to what you were --

24   what UVT was getting paid.     So I thought I understood you

25   earlier to say you were getting a higher return?



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 1        A     This is Preethi, yeah?

2         Q
          Q     No, this is Maureen.      Sorry, phone interviews

 3   are a little awkward that way.

 4        A     Maureen, please, could I take just one second

5    to quickly go to the restroom, and I'll be right back?

 6        Q
          Q     Absolutely.   Absolutely.

 7        A     I'll be right back.

 8        Q     All right, thank you.

 9              (A brief recess was taken.)

10              MS. KING:    We're back, if you're ready.

11              MR. MOORE:    Hi there.

12        Q     Hi.   Thanks for accommodating our break.    So I

13   had started to ask you about compensation that you

14   received from either Bar Works or Mr. Haddow.      Can you

15   estimate approximately how much UVT and/or you received?

16        A     Yeah.   We -- yeah.    We billed him approximately

17   two and a half million U.S.      I believe that we had some

18   outstanding that we didn't bill.      I think we received

19   about 1.47.   And that's Universal Voice Tech, UVT.

20        Q
          Q     Okay.   Did you receive anything personally?

21        A     No.

22        Q
          Q     And just to confirm -- sorry -- that was $2.5

23   million U.S.?

24        A     Well, I believe we billed around about two and

25   a half million U.S.



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 1        Q     And you received 1.4 million dollars U.S.?

2         A     Around 1.45, maybe a touch more.    Slightly less

 3   than 1.5, I think.

 4        Q     Okay.

5         A     And I believe there was some still to bill that

 6   we didn't bill when the relationship broke down.

 7        Q     Okay.   Why did the relationship break down?

 8        A     Why did the relationship break down?    We -- it

 9   was becoming -- it started to become clear to us that we

10   didn't see things the same way.    We started to develop a

11   view that perhaps we had not been told as clearly as we

12   would have liked what was really going to take place.

13              If I can just go back to the original

14   proposition -- we would own half of the rest of the

15   world, you know, everything is good, you know, we would

16   be a master agent -- that all sounds very exciting,

17   especially if I believe there's any possibility the

18   business will be sold one day.    You know, and that

19   descended from there into, you know, we're now competing

20   with the people who should have been a partner.     We're

21   getting money stopped for things we've got no

22   documentation for, you know, which effectively reduces

23   our share of anything.   I was still introducing

24   competitive agents.

25              And then two other things transpired.    We



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 1   introduced a chap by the name of Sean Phillips.     And Sean

2    is an American, but he's one of the founding directors,

 3   ironically, of a British health club chain called Fitness

 4   First.   And it was one of the fastest-growing, you know,

5    fitness clubs at that time in history.    And Sean had been

 6   part of their growth, and they'd ended up with over a

 7   million members.    So we met Sean, because we saw Bar

 8   Works as being very much a membership-based business,

 9   just like a fitness club is.

10              And, you know, I didn't mention this at the

11   time -- I mentioned it in passing to Mr. Haddow, and he

12   didn't seem particularly excited about it.     But I said

13   "well, don't preach, I want to you meet this guy.
     "well,                                                He's

14   very substantial.   You know, he's obviously very

15   qualified and very capable of finding members.     Fitness

16   First has got over a million of them.    He may be very

17   helpful to you."

18              So we introduced Sean Phillips and, you know,

19   Mr. Haddow treated that introduction with some derision.

20   And, you know, that was quite awkward for us

21   reputationally and also, you know, in terms of from point

22   of view of embarrassment.   You know, we'd told Mr.

23   Phillips this could be a great opportunity.     Again, he

24   researched WeWork and everything else, thought it was a

25   great opportunity, came along to meet Mr. Haddow and his



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 1   wife in Manhattan, only to find, you know, that he was

2    told as good as "don't interfere; we're going to tell you

 3   exactly what to do," and so on.    Whereas our style of

 4   doing business would be very different; we go and find

5    someone who is good at something and say "there you go,

 6   it's your job, please get on with it," you know, "tell us

 7   what you need and get on with it." Anyway, we thought we

 8   were helping the business by introducing him, and

 9   seemingly not.

10               At the same time I had -- well, we had

11   identified a potential partner in the Middle East.      And

12   this again is someone I've known a very long time.

13   It's -- I say the Middle East, but I should be more

14   specific:   Dubai.   And he works between Dubai and London.

15   And this chap is a partner in a business called Impact

16   Capital Partners.    He's also had his own successful

17   business, which he sold, so he's a very successful guy.

18   And you know, I persuaded him that it would be a good

19   idea -- me being the supposed holder of, you know, let's

20   call it the rights to 50 percent of the rest of the

21   world, I persuaded him it would be a good idea if we got

22   together and took this thing around the world, into Asia,

23   opening up work locations, you know, getting members,

24   growing the business quickly, so this thing could all be

25   sold.



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 1             He went away, being the capable chap that he

2    is, and found someone who was prepared to commit to

 3   raising a 25 million-pound corporate bond to help fund

 4   the growth of the business.   That to me was very good

5    news.   You know, he was a very capable guy with a great

 6   reputation, lives in Dubai, spends his time between Dubai

 7   and London.   I mentioned this to Mr. Haddow, and he said

 8   "the only way that I'm going to do any kind of deal like
     "the

 9   that is if I get to control all the money," you know, to

10   which I explained "I'm in Dubai, talking to these people,

11   and nobody in their right mind is going to give you 25

12   million pounds of corporate money."

13             You know, this would be money raised no doubt

14   from institutions, venture capital, pension funds,

15   wherever, with a view to, you know, opening 30 of these

16   around the world. "This could be your lucky day kind of

17   thing," you know, "and it would really put the business

18   on the map." And that was treated with equal derision.

19             And I think between those two events Neil Story

20   and I got our heads together and said, you know, "we

21   can't do this.   We're not prepared to introduce good

22   people and have them treated in this way." And also, we

23   became concerned at that point in time, you know, having

24   introduced someone whose expertise was to bring in

25   members, and that be treated with apparent disinterest,



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 1   and then introduce someone, you know, obviously that was

2    for our benefit, that would help hold half of the rest of

 3   the world -- you know, Mr. Haddow all of a sudden seemed

 4   to have more interest just in a few openings in the

5    United States, and have no -- he actually said he had no

 6   interest in doing anything unless he controlled the bank

 7   himself.

 8              And then again I said "there's no way these

 9   people are going to let you control the bank." You know,

10   Mr. Halliwell, who is the partner at Impact Capital

11   Partners, has been involved with raising quite a

12   considerable amount of money for a power plant in the

13   United Kingdom, and also for some social housing.     Mr.

14   Story, who works with me, is an ex-British diplomat.     You

15   know, these people have no interest in being involved

16   with anybody who'd say he's only interested if he can

17   control all the money.

18              So that was the point at which we said, you

19   know, "enough is enough, and we're going to part

20   company." And we spoke to Mr. Halliwell, who at that

21   point said, you know, "why do we need him?     Why don't we

22   do this ourselves?" And that's actually been the outcome.

23   You know, Mr. Halliwell had been working effectively with

24   consultants trying to help us with Bar Works up until at

25   that point.   He went as far as getting an organogram



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 1   drawn of how this organization for the rest of the world

2    could work.

 3              As I said, I don't need to be treated with

 4   absolute derision, so, you know, his response to that,

5    which we supported, was "why are we wasting our time with

 6   this person?    You know, why couldn't I do it with you

 7   guys becoming the sales and marketing and -- you know,

 8   and really have some equity, so to speak?" So that's how

 9   the thing has moved forward, if that's makes any sense.

10        Q     Yeah, no, that was a very helpful explanation.

11   I appreciate that.   So did you ever have any follow-up

12   conversations about the concerns you had with Mr. Haddow?

13        A     When you say a follow-up conversation -- is

14   this Maureen?

15        Q
          Q     This is Maureen, yes.

16        A     Maureen, can you clarify for me what you mean

17   by "follow-up conversations"?

18        Q
          Q     Sure.   So I understood you to relate two

19   events, and I understood you to say that -- you know,

20   that it raised some concern for you.    I'm wondering if

21   you ever discussed those concerns with Mr. Haddow, or how

22   you left things with him.

23        A     Yeah, absolutely.   I was incensed, you know.

24   We'd -- we being -- you know, when I say Universal Voice

25   Tech, Mr. Story was working with us as well.     So again,



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 1   here's a guy that's worked with me for 13 or 14 years,

2    you know, background in the British government and the

 3   diplomatic corps, a senior British diplomat, and you

 4   know, I have now got a leg on that base.    I'm fat in the

5    Middle East with someone who's been doing work for us --

 6   I'm saying Dubai, rather, to be specific, with someone

 7   who's been doing work for us, being, you know, Mr.

 8   Halliwell, only to be told in no uncertain terms by Mr.

 9   Haddow that he has no interest in any of this.

10              And an immediate thought is "why have I flown

11   out here and wasted all my time and money?     And why have

12   we been investing our money?" Remember, the reason that

13   we were prepared to expand this, Maureen, or worked to

14   expand it aggressively, is we believed we were being

15   given half of the rest of the world; or we wouldn't have

16   done it.   And so we were pushing forward on that basis.

17              And then -- you know, so then to get to a point

18   where -- that we believed could definitely be what

19   success looked like, you know, with credible people,

20   credible partners and so on, to be told "well, I have no

21   interest unless I control all the money" was at best

22   infuriating, you know, having wasted a lot of time,

23   energy and money to get there.    So yes, there was

24   definitely -- there was a follow-up call, you know.     And

25   I don't remember the precise conversation, but I'm sure



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 1   the air would have been blue. You know, Mr. Haddow can

2    swear a lot and, whereas I'm not prone to, I'm sure I did

 3   on that day.

 4        Q     Have you had any contact with Mr. Haddow after

5    that conversation?

 6        A     Well, unfortunately, of course, we were owed

 7   money, and United Property were owed money.     So in the

 8   meantime, whilst we were working closely with Impact

 9   Capital and Mr. Halliwell to put together, you know,

10   effectively Mr. Halliwell's business, which is Our

11   Space -- whilst we were working with them, we were at the

12   same time attempting to be on what we would call silent

13   running; again, just ready to completely launch before we

14   completely parted company with Mr. Haddow.     We were owed

15   too much money to treat it otherwise.

16              And so of course there was some -- you know,

17   there was an exchange, quite a heated exchange, towards

18   the end. We tried to -- we noticed that Mr. Haddow had

19   been extending his credit to date with both us and United

20   Property, and taking longer and longer to pay.     So of

21   course we were trying our hardest to make that as quick

22   as possible, because we knew we were going to part

23   company, and we knew it would be painful financially for

24   us, because we were under no illusion as to whether or

25   not this -- you know, this kind of person would pay us



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 1   what he owed us, so we didn't want to be nicked anymore

2    than that.

 3               That proved to be a correct judgment.   I think

 4   he owed United roughly about 350 or $360,000, and as we

5    previously discussed, Universal Voice Tech about a

 6   million dollars; you know, none of which he paid, of

 7   course.    So the minute he discovered that we were now

 8   marketing Our Space, which is a directly competitive

 9   product to him, albeit not in the United States, he was

10   incensed.

11        Q      Okay.   And so have you since then had any

12   discussions with him?

13        A      No.

14        Q      Did Mr. Haddow provide you with any documents

15   about Bar Works generally, not the leases specifically?

16        A      Say again, please?

17        Q      Did Mr. Haddow provide you with any general

18   documents about Bar Works and what it was?

19        A      General documents?   As in brochures or leasing

20   documents?

21        Q      Yes, exactly?

22        A      Or website?

23        Q      Exactly.

24        A      So they had a website.   They provided us with a

25   brochure for each location as and when it was ready.      I



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 1   can easily access -- I can easily get for you what United

2    Property called the assets store for Bar Works.     So they

 3   will have what's known as an assets store, which will

 4   have anything that we were furnished or that they were

5    furnished by Bar Works.   Now, again, that wouldn't have

 6   been furnished -- it wouldn't have necessarily been

 7   furnished directly to us at Universal Voice Tech.

 8             I'm looking at something here, it's a

 9   Certificate of Ownership, says "Welcome to Bar Works,"

10   which is a member application.    There's a

11   questions-and-answers.    There's a -- yeah, more questions

12   and answers.   There's a Terms and Conditions, which I

13   think relates to the actual membership for someone using

14   the co-working.   There's something here, "Purchase

15   Memorandum -- Own a workspace and make 15 percent yearly

16   from rent in a booming market.    Get you seat in the

17   hottest property sub-sector in town." Another agreement

18   and terms; that never actually got signed by him, and I

19   don't know why.   Bar Works Financial Projections --

20             MR. HEIM:   James, I think instead of reading

21   off everything, it might be just in general categories.

22   I think you kind of gave a sense of what you got already.

23             MS. KING:   Yeah.   And Robert, we can

24   actually -- we can discuss offline any documents we'll

25   need or production.



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 1              So we really appreciate you letting us know

2    what you have, though; that's super helpful.

 3              MS. KRISHNAMURTHY:   And Robert, this is

 4   Preethi. I mean, I think it would be helpful, if the

5    client is willing, to set up a second conversation once

 6   we have those documents, just to sort of walk through

 7   them more efficiently, rather than asking for summaries

 8   on the phone, which I never think are all that helpful.

 9   So maybe that's something we can talk about at a later

10   point.   And we'll of course get back to you on what we

11   would like produced and all of that stuff.

12              Just because -- James, because you're in the

13   UK, we just want to make sure that there's no issue with

14   our receiving stuff from you before we say "absolutely,

15   please send us everything."

16              MR. MOORE:   Just for clarity, Preethi, I'm in

17   Spain, not the UK.

18              MS. KRISHNAMURTHY:   Oh, I'm sorry.   You're in

19   Spain.   I apologize.   I did know that; it was just the

20   accent that led me astray for a minute.

21        Q
          Q     And United Property is in the UK, right?

22        A     No, United Property is also in southern Spain.

23        Q
          Q     Oh, okay, great.   Okay, all right, so with

24   respect to Bar Works, did you ever -- was there a -- did

25   you have any understanding that there was a management



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 1   team in place, or executives running it?

2         A     I was told that -- Mr. Haddow had told me that

 3   he'd previously worked with a company called, I think,

 4   Regent Inns PLC, in the UK.     And they happened to roll

5    out a business called Walkabout, Walkabout Bars.     You

 6   know, I was vaguely aware of Walkabout, because it was

 7   quite a fast-growing business in -- I can't remember,

 8   probably the mid '90s.     But you know, it was one of those

 9   things that I was vaguely aware of, because I had seen it

10   on the High Street; it had cropped up in various

11   different places.   And he told me that he'd got a chap

12   from Regency Inns (sic) by the name of Jonathan Black to

13   add all this up for him.

14        Q
          Q     Okay.   That was Regency Inns?

15        A     Regency Inns, PLC (sic).

16        Q
          Q     Did you ever meet Mr. Black?

17        A     No, I didn't, unusually.    No.

18        Q
          Q     Did you ever talk to him?

19        A     No, I didn't.

20        Q
          Q     What did you understand his role to be?

21        A     We understood his role initially was CEO -- or

22   rather, initially we understood his role as CEO.

23        Q
          Q     But so did you ever then --

24              MS. KRISHNAMURTHY:    Did you ever ask to speak

25   to Mr. Black?



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 1                MR. MOORE:   No, I didn't.   I don't know whether

2    anyone else did, but I didn't, no.

 3          Q
            Q     Okay.   Were there any -- did you understand

 4   there to be any other executives in place?

5           A     No.   I never understood anyone else to be in

 6   place, other than Mr. Haddow.

 7          Q     Okay.

 8          A     And his wife, of course.     Sorry.

 9          Q     You mentioned his wife a couple of times.      Is

10   that Zoia Haddow?

11          A     I don't actually know her last name.     I'm

12   assuming since they got married it's Zoia Haddow, but I

13   don't know if she took his last name.

14          Q     Okay.   Would you mind describing her?

15          A     She's on the photographs, if you look on the

16   website.     She calls herself "Zoe"
                                    "Zoe" on there for some

17   reason. He introduced her as Zoia, when he introduced

18   her.

19                MS. KRISHNAMURTHY:   Can you just spell the two

20   versions of her first name?

21                MR. MOORE:   Don't think I'm being difficult,

22   but --

23                MS. KRISHNAMURTHY:   No, no.

24                MR. MOORE:   -- I don't know how to spell it.       I

25   don't speak Ukraine.




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 1                MS. KRISHNAMURTHY:   Okay.

2                 MR. MOORE:   It was -- I'm telling you how I

 3   heard it, "Zoia," but I don't know how to spell it.

 4                MS. KRISHNAMURTHY:   Okay.   And you separately

5    saw her referred to on the website as "Zoe"?      Is that

 6   Z-O-E?

 7                MR. MOORE:   Well, I saw correspondence from a

 8   Zoe, and then -- you know, it may be wrong of me to

 9   assume it was the same person.       But I never met a Zoe.    I

10   met a Zoia, and I seem to remember hearing people

11   referring to Zoia as "Zoe,"
                          "Zoe," you know, to which I'm "hmm?

12   Zoe?   Who's Zoe?    Oh, Zoia," you know.

13          Q     Who said that?

14          A     I'm not -- remember, I have not been there for

15   a large amount of time.       I have not been trapped in their

16   business -- I have periodically been in business with

17   them, and met them a few times.       I was introduced to his

18   wife, obviously, and that's really it.       I'm just looking

19   on his gallery to see if I can see her there.

20          Q     What does she look like?

21          A     Mid 20s, blond.

22          Q     Okay.   Do you still need a moment to look on

23   the website?

24          A     No, I'm just looking.

25          Q     Okay.



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 1         A     I don't see her there.

2          Q
           Q     And just so I'm clear, which website are you

 3   looking at?

 4         A     I'm looking at the Bar Works website.    Here she

5    is.

 6         Q
           Q     Okay.   BarWorks.com?   Can you just tell me the

 7   actual site you're looking at?

 8         A     BarWorks.nyc.

 9         Q
           Q     Okay.   And when you say "here she is," where on

10   the site are you looking?

11         A     I'm looking on BarWorks.nyc/gallery.

12         Q     And is there a particular sequence of photos on

13   there, or is it just one site -- one picture?

14         A     No, there is no numbers.    There is a sequence.

15   Do you want it now?

16         Q
           Q     Is there a way for you to tell me roughly where

17   in the sequence she is?

18         A     Yeah, I'm trying to reference that.    If you

19   scroll down --

20         Q
           Q     Okay.

21         A     -- the first batch of pictures is West Village,

22   New York.

23         Q
           Q     Okay.

24         A     The second batch of pictures are from Times

25   Square, New York.     The next batch of pictures are from



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 1   midtown Manhattan, 47 West 39th Street.       And if you were

2    to go -- there are four pictures per row on my screen.

 3          Q     Okay.

 4          A     So you need to go to the fourth row down, and

5    the first picture on the left, which should say -- and if

 6   you open it, says "13 of 24, Barworks
                                  Barworks_opening_3."
                                           opening 3." The

 7   person on the left is the person I have always known as

 8   Zoia.

 9          Q
            Q     Okay, super.   That's extremely helpful.   Thank

10   you.    So did Mr. Haddow ever provide you separately with

11   any funds?

12          A     No.

13          Q
            Q     Okay.   So the only funds you received from Mr.

14   Haddow or Bar Works came through UVT?

15          A     The only funds UVT received or we received

16   ever -- I'm a U.S. taxpayer, and we pay ourselves a

17   salary from UVT. So you know, I wouldn't have been asking

18   him for funds directly.     I'm working with my wife, the

19   money is going into the business, and so on.

20          Q
            Q     Got it.

21          A     So no, he has never provided me with it, and

22   I've never asked him for it.

23          Q
            Q     Okay.   What is TTT Moneycorp?   Is that an

24   entity you're familiar with?

25          A     Moneycorp, yes, of course I am.



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 1        Q
          Q     Oh, what is it?

2         A     Moneycorp is a very reputable and well-known

 3   foreign exchange business in Europe.

 4        Q     Okay.   And how does it work?   If you send money

5    to Moneycorp, is there an account there that you can then

 6   withdraw from?

 7        A     I don't know the answer to that, because that's

 8   something that an agent would use more than me.     I know

 9   it may sound odd, because we used to use Inside Track,

10   but I was never operationally involved in it.     So I can't

11   answer your question, I'm afraid.

12        Q     No, no, that's fine.    I should have said "if
                                                           "if

13   you know."

14        A     United Property certainly has a Moneycorp

15   account. And if you want a little background, I'm sure

16   you can look on their website and see what they do.     But

17   typically, the reason folks tend to like Moneycorp -- or

18   typically, more accurately, the reason for a property

19   agent like United Property to use something like

20   Moneycorp would be this:     You know, if you've got, let's

21   say, a client in Saudi Arabia, it may be easier for him

22   to -- easier and cheaper for him to pay his funds to

23   Moneycorp than through his own bank.     And that's because

24   there are direct competitors to the banks in terms of

25   foreign currency transactions.



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 1          Q     Okay.   All right, thank you.   Apart from what

2    we have talked about with the leases for Bar Works,

 3   did -- are you aware of any other products sold by Mr.

 4   Haddow -- leases, notes, equity, debt, or property?

5           A     When I say I'm not aware, I have to be very

 6   careful to be accurate in this statement, because I was

 7   reviewing some old e-mails, and he sent us -- very early

 8   he sent us a private placement memorandum.      But he

 9   furnished -- he's never asked us to sell any shares or

10   anything like that, or loan notes.     And we have never

11   been involved in that; and I don't know that he is or he

12   has.

13          Q     Okay.

14          A     What we did have was we had a client, a large

15   client, that wanted to invest in the order of -- from

16   memory, about five or $600,000 in work-space leases.        And

17   of course, the client wanted to speak directly to the

18   company themselves, and so did we -- I'm sorry to

19   interchange the terms so readily; United Property.       And

20   so this client spoke directly to the company.      And at

21   that point in time he decided that he was going to invest

22   half his money in work-space leases, and half of it

23   apparently in preference shares, or so I understand.

24                Now, of course we would never have talked about

25   preference shares because, number one, we don't



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 1   understand preference shares; number two, we have no

2    documentation to say it existed; and number three, I

 3   wouldn't know how to sell these at the end of the day,

 4   and neither would United Property.    So they were more

5    than a little surprised and perturbed, because of course

 6   they weren't paid any commission on the sale of the

 7   preference shares.

 8              To my knowledge, I believe they only received

 9   commission on the sale of the work-space leases.     So

10   again, they introduced a client who invested five or

11   $600,000, and I believe were only paid on $300,000.

12        Q     Sorry, and this is United Property?

13        A     Excuse me?

14        Q     This was United Property that was only paid on

15   the $300,000?

16        A     That's my understanding, yeah.

17        Q     Okay.   All right, and who was the client?

18        A     I don't know.   I can't remember.   Again, it was

19   not somebody that I was dealing with, so, you know.       I'm

20   caught up in the middle of this conversation from time to

21   time where, you know, they call me and say, you know,

22   "this guy wants to talk to the company, and can he talk
     "this

23   to them," and "let me find -- let me help you; yes, he

24   can." You know, I was a go-between more than anything

25   else, just trying to help them to get better access so



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 1   they could affect a sale.

2                Unbeknowingly, or unknown to me, Bar Works then

 3   went and discussed the idea of this guy buying preference

 4   shares.    I think he was from Sweden or Norway.

5         Q      Does the name "Julian White" ring a bell?

 6        A      Yes, that's him.

 7        Q      Okay.   All right, that's helpful.

 8        A      Yes, that's him.   Broadly, broadly, I think he

 9   lives in Sweden, and broadly, I think he invested

10   $300,000 in work-space leases and $300,000 in preference

11   shares.

12               MS. KRISHNAMURTHY:   Preference shares of Bar

13   Works?

14               MR. MOORE:   I don't know, again because it's

15   not something we've anything to do with.

16        Q      You mentioned --

17        A      Again, "we"
                        "we" being not only Universal Voice

18   Tech, but I'm talking about "we" now from my involvement

19   helping United Property to expand their master agent

20   role.

21        Q      You mentioned a private placement memorandum

22   that Mr. Haddow sent early on.     What entity was that for?

23        A      Hold on, I'll tell you.   Give me a second.

24   "Private placement memorandum, the offer of placement,
     "Private

25   private equity placing, unconvertible loan note offer."




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 1   Hold on, I have to look and check who it is.     I

2    actually -- without reading it thoroughly, I can't answer

 3   your question.

 4        Q     Okay, that's fine.

5         A     "Please enclose your check for the amount shown

 6   above payable to Bar Works, Inc. and send it with this

 7   form to In Crowd Equity, 30 East 37th Street, 3rd Floor,

 8   New York, New York.

 9              And it's got a UK address as well:    In Crowd

10   Equity, Care of 1st Floor Administration, 20-22 Wenlock

11   Avenue, London, N1 -- and then the rest.     And this is for

12   convertible loans stock units.

13        Q
          Q     Do you know -- sorry, go ahead.

14        A     Go ahead.

15        Q
          Q     Do you know what In Crowd Equity is?

16        A     I don't know if -- actually, this is got a

17   Getty Images photograph on the front, so it would be

18   wrong of me to say that I know if he ever used this.

19   This is something he sent to us in the first place.     You

20   know, and it's a three- or four-page piece.

21        Q
          Q     Right, but my question is just whether you know

22   what In Crowd Equity is.

23        A     Again, only in passing.   I have read here that

24   he's got some crowd funding business or something.

25              MR. HEIM:   I think she's asking just



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 1   independent of what you were just reading a minute ago.

2                 MR. MOORE:   No.

 3                MR. HEIM:    Have you heard of them or dealt with

 4   them?

5                 MR. MOORE:   I haven't.   But when I read my

 6   e-mails, I remembered that he had mentioned this in

 7   passing.

 8          A     But it's not something I know anything about or

 9   I'm aware of particularly.      When I read this, I

10   remembered him mentioning In Crowd Equity, but that was

11   all.

12                MS. KRISHNAMURTHY:   And what did Mr. Haddow say

13   to you about In Crowd Equity, if anything?

14                MR. MOORE:   No, I remember him saying he was

15   involved in a crowd funding business called In Crowd

16   Equity. But that was all I knew about it.

17          Q     Okay.

18          A     And it's mentioned again in this document here.

19   But I didn't -- I really didn't pay any attention to it

20   because when I read this of course, you know, I had never

21   ever been involved in any business related to shares or

22   share dealings.      So it's the kind of thing, if I read it,

23   it's invisible to me; it doesn't really stick there, if

24   that's makes any sense.

25          Q     And the only business -- just to be clear, the



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 1   only business Universal Voice Tech or UVT did with Mr.

2    Haddow was the Bar Works?

 3        A      100 percent, yeah.

 4        Q      Okay.

5         A      Absolutely.

 6        Q      All right.    Have you ever heard of Bitcoin

 7   Store, Inc.?

 8        A      No.

 9        Q      Or Bitcoin Store PLC or Limited?

10        A      Nope.

11               MS. KRISHNAMURTHY:   Did Mr. Haddow ever mention

12   to you that he had any other business interest involving

13   Bitcoin?

14               MR. MOORE:    No, not that I recall, no.

15        Q      Okay.   I think that you have -- you've been

16   super helpful in addressing our questions, and we really

17   appreciate your time.     As Preethi mentioned earlier, we

18   will talk to your counsel about documents.      And then we

19   would really appreciate if you would be willing to, you

20   know, talk to us after we have had a chance to review

21   them.    But we just at this point want to say thank you

22   very much.

23               And just, is there anything you want to clarify

24   or anything you want to add or, you know, thinking back,

25   do you see anything that Mr. Haddow was doing differently




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 1   than maybe you thought at the time?

2         A     Can you perhaps clarify that question for me,

 3   when you say is there anything he was doing differently

 4   than we thought at the time?

5         Q     Sure.   So in retrospect, do you view Mr.

 6   Haddow's -- what he was doing or offering differently

 7   than perhaps you did at the time?

 8        A     I need to be careful to be accurate and to try

 9   not to be in any way swayed emotionally.    I'm going to

10   preface what I say by:   You need to understand, I'm very

11   angry at this person.

12        Q     Okay.

13        A     You know, he's caused me, you know,

14   reputational issues and reputational damage.     He has

15   wasted a lot -- as far as I'm concerned, he's wasted lots

16   of our time.   You know, he -- it would be wrong of me to

17   speculate, but now I suspect the only intention of

18   offering the agreement that he offered us and me in the

19   first place -- because almost from the day he offered it,

20   he set about trying to do something that wasn't in the

21   spirit of it, to dilute any kind of effective share or

22   any kind of effective equity or effective remedy share;

23   you know, and that was his modus operandi from day one,

24   to set people up in competition with us.

25              So of course from my point of view, on a



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 1   personal note, it's very, very different to believe that

2    he ever meant those things.      The fact that we -- you

 3   know, Neil Story, who's worked with me for a long time,

 4   ex-British consulate to Peru, ex-Consulate General to

5    Brazil, a background in forensic investigation; you know,

 6   we sat with Mr. Haddow and with Mr. Sean Phillips, the

 7   guy from Fitness First, and walked out of that meeting,

 8   you know, absolutely, absolutely shocked.

 9               I mean, I had to walk away.    I couldn't believe

10   anybody would represent as somebody so capable and

11   credible, with such a long history of performance and

12   achievement, and apparently have -- not only have no

13   interest, but be quite offensive and rude about why we

14   would want to be involved. Now --

15               MR. HEIM:    James, I think you answered the

16   questions already.      You know, it's really just about

17   whether you wanted to add anything else.      And I think we

18   have already covered everything that you'd like to talk

19   about in full.

20               MR. MOORE:    Thanks Robert.   Apologies.

21               MS. KING:    All right, so thank you again.    And

22   Robert, we will be in touch.

23               MR. HEIM:    Okay, sounds good.

24               MS. KRISHNAMURTHY:    Thank you very much.    Thank

25   you both.



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 1             MS. KING:   Thank you.

2              (Whereupon, at 12:12 p.m., the examination was

 3   concluded.)

 4                            *
                              * *
                                * *
                                  * *
                                    * *
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 1                    PROOFREADER'S CERTIFICATE

2

 3   In The Matter of:    IN CROWD EQUITY, INC.

 4   Witness:             James Bernard Moore

5    File Number:         NY-09477-A

 6   Date:                Thursday, August 11, 2016

 7   Location:            New York, NY

 8

 9               This is to certify that I, Maria E. Paulsen,

10   (the undersigned), do hereby swear and affirm that the

11   attached proceedings before the U.S. Securities and

12   Exchange Commission were held according to the record and

13   that this is the original, complete, true and accurate

14   transcript that has been compared to the reporting or

15   recording accomplished at the hearing.

16

17   _______________________         _______________________

18   (Proofreader's Name)            (Date)

19

20

21

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23

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25




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